Case 1:21-md-03010-PKC Document 574 Filed 06/22/23 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

GANNETTCO,INC, :
Plaintiff, 23-ev-5177(PKC)
ORDER
-against-
GOOGLE LLC and ALPHABET INC.,
Defendant.
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IN RE: GOOGLE DIGITAL ADVERTISING
ANTITRUST LITIGATION 21-md-3010 (PKC)
pnneeeee nee ee ene --------- --X

CASTEL, U.S.D.J.

The above-action has been accepted as related to IN RE: GOOGLE DIGITAL
ADVERTISING ANTITRUST LITIGATION, 21-md-3010(PKC), The newly-filed action will
be coordinated for pretrial proceedings with the MDL and is subject to all existing and future
Orders and Schedules of this Court entered in the MDL without prejudice to the right of Gannett

Co., Inc. to seek certain modifications appropriate to its circumstance.

SO ORDERED.

P, Kevin Castel
United States District Judge

Dated: New York, New York
June 22, 2023

 

 
